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Exhibit 7
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. CONFIDENTIAL
UNITED STATES DISTRICT
DISTRICT OF MASSACHUSETTS

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In re NEURONTIN MARKETING, MDL Docket No. 1629
SALES PRACTICES, AND PRODUCTS Master File No.
LIABILITY LITIGATION 04-10981

VIDEOTAPED DEPOSITION of ASHLEY PIPPIN MORELAND
Jacksonville, Florida

July 25, 2007

Reported by:

Teresa S. DeCiancio, RDR, CRR, FPR

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Page 86
1 A _ That I have left? 1 94 pages. And I will reference you to a couple pages
2 Q No, that the Nashville office left with these 2 that you can look at. And you can tell me whether or
3 addresses that are documented on here, okay? And -- and 3 not they're substantial or not, but let's just go to
4 I'll give you an example. You see -- 4 Page -- we have samples documented on Page 2, all right?
5 A Different addresses. 5 A Yes--
6 Q What is this -- let me ask you this. This is 6 Q Webhave samples documented on --
7 certainly not all the prescribers in Nashville, 7 A --but they're not my samples.
8 correct — 8 Q Okay. But samples from -- these are Neurontin
9 A Right. 2 samples; you agree with that?
10 Q --on these 94 pages, right? 10 A Yes.
11 6A Yes. 11 Q Allright. We have samples documented on Page
12° Q There are far more prescribers out there than 12 3, right?
13 what's documented in 94 pages, right? 13. A _ They're not my samples.
14° A Yes. 14° = Q Sure. I'm going to -- I will let -- agree that
15 Q And my under- -- I'm -- just to let you know, 15 they're not your samples and unless there's an entry
16 just assume with me -- and if I'm wrong, then this 16 above it that says Ashley Pippin, okay? But on Page
17 testimony will be fairly useless — but assume with me 17 12 -- do you see Page 12?
18 that -- that these —- this 94-page document is a listing 18 A Yes.
19 of samples and/or sales contacts with physicians that 19  Q Icounted up under quantity 2,020 on that page
20 have some contact with the plaintiff in this case, all 20 in that quantity column, okay?
21° right? 21 A _ Does that refer to every page in front of it?
22 MR. FERGUSON: Okay. Now object tothe form. | 22 Q No. Itjust refers to the -- to the samples on
23 MR. SOH: Understood. 23 that page.
24 BY MR. SOH: 24 A From what prescriber?
25 Q Just assume with me -- 25 Q Those are the call dates -- I guess Miriam
Page 87 Page 89
1 MR. FERGUSON: Assuming then. 1 Brumley is the prescriber where those samples were
2 MR. SOH: Assuming then, all right? 2 calculated on there, okay?
3 BY MR. SOH: 3. A Okay.
4  Q Ifyou can -- if we can just g0 to -- let's -- 4  Q And can you tell me on Page —
5 let's do this exercise -- Page -- 5 A No. That's another rep's name on the top of
6 A May -- may I makea point? 6 the page.
7 Q Sure. 7  Q Sure. But if you go back the previous couple
8 A Some of these doctors are not affiliated —- 8 of pages, you see where it says Miriam Brumley?
9 these are not doctors -- Dr. Clinton was never 9 A Yes.
10 affiliated with -- there's about six to eight different 10 = Q _Italso has for sales rep Robert Hardin, Janet
11 addresses in here. 11 Ross --
12, Q Yeah, I agree with you. 12 A Okay. This is the only prescriber, though.
13 A There are doctors that are not affiliated with 13. Q Yeah.
14 your plaintiffs’ doctor. 14 A _ You did not include Dr. Richard Burnham
15 Q What's your understanding of who our plaintiff 15 (phonetics)?
16 doctor is? 16 Q = Idid not.
17 =A’ Dr. McCombs and Dr. Mackey. 17° A’ Okay.
18 Q Okay. And then -- then you know that Nurse 18 Q  Idid not. So it looks like the summary of
19 Krancer also prescribed Neurontin to the plaintiff? 19 samples left for Miriam Brumley was 2,020 samples on
20 A Yes. , 20 that page and 108 under the quantity column on the
21 Q Okay. 21 subsequent page, all right?
22  A_ She works with Dr. McCombs. 22 A Yes.
23 Q Let's do this. Let me just do this. In these 23 Q Can you tell me for, let's say, Ms. Brumley,
; 24 94 pages of call notes that -- there are a substantial 24 under quantity, would that mean that there were 144
25 number of samples that are documented in -- within these | 25 pills left that day, or would that mean there were 144

 

 

23 (Pages 86 to 89)
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1 A No. 1 medication for epilepsy?
2  Q Okay. And let's see. It looks like you, in 2 A Yes. She worked with a neurosurgeon who
3 fact, left samples for Nurse Krancer because -- let's go 3 treated epilepsy.
4 back to Page 61. You called on her January 11, 2001. 4 QQ Did you ever discuss whether or not Nurse
5 And if you go to Page 62, on January 11 of 2001 it looks 5 Krancer was using this drug off label, or did you ever
6 like that there were 36, 18 and 72 blister packs left 6 discuss whether Nurse Practitioner Krancer was
7 with her on that day. 7 prescribing this drug -- did you ever discuss with Nurse
8 A Yes. 8 Krancer whether Nurse Krancer was prescribing Neurontin
9 Q And, similarly, on the top of Page 62, you 9 off label?
10 called on her on September 4 of 2001 and that there were | 10 A_ No, we never got into discussions about it.
1i 72,72, 144 and 30 blister packs left on that day. 11 Q Okay. You just left the sample, but you never
12 A Yes. 12 discussed -- you never discussed off-label uses of
13° Qs Allright. 13 Neurontin with Nurse Krancer?
14 A _ It was an eight-month time difference. 14 A If there ever was a discussion, she initiated
15 Q Yeah. 15 it. And I clarified her question and told her we had to
16 Going to Page 63, looks like that there are 16 go through a medical inquiry with Pfizer, and I'd stop
17 four more entries, again detail and starter, where you 17 discussing it.
18 discuss Neurontin and left samples from October of 2001 | 18 Q_ So do you have a specific recollection of ever
19 through July of 2002. Do you see that? 19 discussing off-label uses of Neurontin with Nurse
20 A Yes. 20 Practitioner Krancer?
21 Q And those are all your name, Ashley Pippin? 21 MR. FERGUSON: Object to form.
22 A Yes. 22 A _ If we ever discussed it, it was her initiation
23. Q And let me ask you about some of the call 23 and then I sent a medical inquiry in.
24 notes. Under the May 13th, 2002, it says, "Likes the 24 Q Iunderstand. But, as we sit here today —- I
25 100s and 300s. Probe into where she is using it. Get 25 understand that -- that's -- that was -- what you just
Page 99 Page 101
1 help through her with other surgeons.” Okay? What -- 1 said seemed to be the Pfizer policy.
2 what did that mean? 2 A No, sir. It's my policy.
3 A The whole call note or each sentence? 3 Q It's your policy. Okay. But I'm just asking
4  Q Each -- each phrase in that sentence. I'm 4 you now, separate from your own policy, do you
> assuming that "likes the 100s and 300s” means the 100 5 specifically recall a conversation with Nurse
6 milligram and 300 milligram samples of Neurontin. 6 Practitioner Krancer about off-label uses of Neurontin?
7 A Yes. 7 A No. Inever discussed it off label.
8 Q > What do you mean by "probe into where she is 8 Q Okay. That's -- that's -- that's the question.
9 using it"? 2 I just wanted to clarify.
10 A Ithink what I mean by that is like agewise 10 If someone were to discuss off-label usages of ©
11 where she's using it. 11 Neurontin, what would be your response?
12 Q Like her patient base that she’s giving 12 A Ate you saying if -- if somebody initiated the
13 Neurontin to? 13 discussion?
14 A _ No, her type of patients. 14 Q Let me ask you this. Would you ever initiate
15 Q Okay. Meaning? 15 an off-label discussion about Neur- --
16 A Is she just using it for her young epileptics 16 A No.
17 and not her older epileptics? Is she using it as the 17 Q Would you ever initiate an off-label use of
18 third add-on instead of the first add-on? 18 Neurontin with a physician or a prescriber?
19° Q Okay. Is it your understanding that Nurse 19 A No.
20 Krancer has a lot of epilepsy patients? 20 Q Okay. Have there been instances in your career
21 MR. FERGUSON: Object to form. 21 asa Pfizer sales representative where a physician
22 Go ahead. 22 initiated an off-label discussion of medication with
23 A We never got into how many she had. 23 you?
24 Q Okay. But in 2002 that was the only approved 24 A Yes.
25 indication for Neurontin was epilepsy, as an add-on 25 Q What do you do when the physician or prescriber

 

 

 

26 (Pages 98 to 101)
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Page 102 Page 104
1 initiates a discussion about using medicine or 1 talking about the new indication for Neurontin, which
2 prescriptions off label? 2 was shingles pain, with Nurse Krancer?
3 A Iclarify what he's asking me, if it truly is 3. A Yes.
4 off label. If it's not, then we can go another 4  Q Okay. And your testimony was that she was a
S direction. If it is truly off label, I clarify his 5 nurse practitioner for a neurosurgeon?
6 question and tell him I will have medical inquiry get 6 A Yes.
7 back to him. 7 Q And how commonly would neurosurgeons treat
8  Q Is that your personal policy, or is it Pfizer's 8 shingles pain?
9 policy? 9 MR. FERGUSON: Object to form.
10 A_ It's my personal and Pfizer's policy. 10 Go ahead.
11 = =Q = Okay. So you -- you follow Pfizer's policy 11 A _ She worked with a -- a neurosurgeon, and she
12 with regards to off-label inquiries by physicians or 12 also worked with an anesthesiologist.
13 prescribers? 13 Q Okay. How often would neurosurgeons or
14 A Yes, 14 anesthesiologists write prescriptions for shingles pain?
15  Q Okay. And then your next sentence on that -- 15 A [never really got into how many patients.
16 on Page 63, the third entry on the call notes is, "Get 16 Q_ Okay.
17 help through her with other surgeons," okay? 17° <A _ Idon't know.
18 A Yes. 18 Q Did you regularly call on anesthesiologists for
19 Q_ What does that mean? 19 Neurontin?
20 A  Neurosurgeons were very hard to get toknow,so} 20 A Yes.
21 Iwas hoping my relationship with her I could get to 21 Q Okay. Because they treated patients with
22 know them. 22 epilepsy and shingles pain?
23 Q That she would introduce you to them and you 23 A _ We didn’t call on pain specialists until the
24 could maybe detail them on Neurontin? 24 PHN indication.
25 A Yes. 25 Q Okay. No. I mean --
Page 103 Page 105
1 Q Okay. The next entry, it says that -- call 1 A They treat PHN.
2 notes. It says, KIH12, slash, new indication, how high 2  Q  -- why would you call an anesthesiologist for
3 are they going, one sample closet, and a series of 3 Neurontin?
4 question marks. So can you help me break that down? It 4 <A They treat PHN.
5 looks like K1H12 -- that's your district, right? 5 Q Which would be shingles pain?
6 A [believe that's my territory. 6 A Yes.
7  Q Your territory. Okay. So what -- what -- 7  Q Okay. That's what I wanted to know.
8 what -- what new indication were you talking about in 8 Then it says, "How high are they going? One
9 July 8th of 2002 with Nurse Krancer? 9 sample closet,” question mark. What does that mean?
10 A I believe that's postherpetic neuralgia. 10 <A _ How high are they going, sometimes some
11 Q Okay. Shingles? 11 physicians would go as high as 900, and efficacy's seen
12 <A Postherpetic neuralgia. There's a -- there's a 12 at 18- to 2400 —
13 medical term. 13. Q_ Okay.
14 Q I--is postherpetic neuralgia pain associated 14 A -milligrams.
15 with shingles? 15 Q So "how high are they going” means the dosage
16 A Yes. 16 that they are -- the dosage of Neurontin that they are
17° Q = Okay. I can't pronounce that, so I'm -- 17 writing --
18 A Okay. I'm sorry. 18 A Yes.
19 Q = - going to call it shingles pain, okay, if 139 Q  --for their prescriptions?
20 that's all right with you? I want to be accurate, and I 20 A Yes.
21 don't want to put words in your mouth. I'm going to 21 Q Okay. And it says -- what's the comment about
22 call that shingles pain because I don't think that -- I 22 "one sample closet" question mark?
23 havea hard time pronouncing the official medical term 23 A I think there's so many question marks because
24 for that, okay? But... 24 I may have accidentally hit the button that --
25 So you believe that in July 8 of 2002 you were 25 QQ. Sure.

 

 

 

27 (Pages 102 to 105)
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1 blister pack came with three pills, that would mean that 1 <A -—different suites.
2 the number of pills that were left with physicians in 2 Q Okay.
3 Exhibit 3, which is a document of 94 pages in length, 3 A_ Soto say what you said is --
4 means that there were 49,623 pills left with the 4  Q Sol guess what I'm saying, is 50,000 samples
5 prescribers in Exhibit 3. 5 to the doctors and prescribers contained in Exhibit 3 --
6 My question to you is that, are 50,000 pills 6 is that a large number?
7 left with a handful of prescribers in a four- to 7 MR. FERGUSON: Same objection.
8 five-year period -- is that a large quantity for you? 8 Go ahead.
9  A_ I would say that -- 9 A Fora product that was taken three or four
10 MR. FERGUSON: Object -- let me -- let me 10 times a day and they were seeing up to 60 patients a
11 object. I'm sorry. 11 day, no.
12 THE WITNESS: Okay. 12  Q Okay. I think I used samples instead of pills,
13 MR. SOH: Okay. 13 but let me -- I just want to clarify.
14 MR. FERGUSON: Object to form, both the 14 If the -- if we can document just under 50,000
15 preparatory remarks and -- and questions, And she 15 pills of Neurontin that were left with the doctors and
16 hasn't added things up. I -- I'll leave it at that. 16 prescribers contained in Exhibit 3, the 94-page document
17 Go ahead. If you can, ma'am. 17 in front of you, okay, do you consider that to be a
18 BY MR. SOH: 18 large number of Neurontin samples?
19° Q Okay. 19 MR. FERGUSON: Same objection.
20 A I would say this is not a handful. This is -- 20 Go ahead.
21 this is more than -- 21 A No. When a drug is taken three or four times a
22 Q Ahandful of locations, I should say. 22 day and there's over ten doc- -- different doctors in
23 A AndI don't -- you know, just the first time 23 here and they see over 60 to 40 patients a day, no.
24 seeing this document -- 24  Q Okay. Fair enough. You can take that away.
25  Q Uh-huh. 25 When did you stop having Neurontin duties?
Page 115 Page 117
1 A _ --I don't know if these are all doctors in the 1 A  Idon't remember the exact date, but maybe
2 same practice. 2 2005. ,
3 Q Okay. My understanding is that all the — all 3 Q Okay. Just some questions. You were aware
4 the prescribers in this -- in Exhibit 3, the 94-page 4 that Warner-Lambert and/or Pfizer pled guilty to some
5 document, have some role in this case, whether that 5 felonies related to off-labelling of Neurontin?
6 being they were caregivers, prescribers or partners or 6 MR. FERGUSON: Object to form.
7 associates of -- of those doctors in this case. 7 A Yes.
8 Assuming that to be -- I guess what I'm saying 8 Q Okay. How were you made aware of that?
9 is, is that -- if you want to run through these 9 A _ In 2004? ,
10 documents, seeing the volume that's contained in Page53| 10 Q Yes,
11 of prescribers and addresses and locations, do you 11 A Is that what you're --
12 believe that the 50,000 -- the almost 50,000 piils 12 Q Uh-huh.
13 documented in Exhibit 3 is a large number? 13 A_ I believe we may have gotten an e-mail from the
14 MR. FERGUSON: Object to form. 14 company.
15 Go ahead. 15 Q Okay.
16 A No, because when I'm looking through this 16 A And Talso may have heard about it on the news.
17 Dr. Clinton was a private practicing neurologist. She 17 Q Okay. What was your understanding of -- number
18 was not affiliated with -- I -- I don't think you 18 one, is it your understanding that Warner-Lambert and/or
19 have -- 19 Pfizer pled guilty?
20 Q But she's located at 1916 Patterson Street, 20 MR. FERGUSON: Object to form on the entities
21 correct? 21 included on that.
22 A Right, but she had a totally different office 22 Go ahead.
23 from Dr. Colclay's (phonetics) over at 1916 Pat- -- they 23 MR. SOH: Actually, Ken, who pled guilty,
24 were -- 24 Warner-Lambert or Pfizer?
25 Q Okay. 25 MR. FERGUSON: I believe the documents have

 

 

 

30 (Pages 114 to 117)
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Page 134 Page 136
1 Q Okay. 1 events were?
2 <A - years ago. 2 A Weight gain --
3 Q > Okay. Do you recall during your training with 3 Q Okay.
4 regards to Neurontin you received from Pfizer whether or 4 A --confusion -
5 not you discussed the effect of Neurontin -- what 5 Q Okay.
6 Neurontin has on norepinephrine in the human brain? 6 <A -- constipation.
7 A Yes. 7  Q Okay. Depression or suicide?
8  Q What do you recall about that training? 8 A No.
9 MR. FERGUSON: Object to form. 9  Q Okay. Did -- did you suggest to any
10 =A’ Fcan't recall. 10 prescribing -- any prescribers to take a history of --
11 Q Okay. Did you ever discuss what a Monoamine 11 for depression prior to prescribing Neurontin?
12 neurotransmitter was in regards to your medical training 12 A No.
13 on-- 13 Q Were you aware of the FDA concern raised in the
14 A No. 14 original FDA review related to Neurontin's association
15  Q = --on Neurontin? 15 with suicides?
16 A No. 16 MR. FERGUSON: Object to form.
17 = Q Okay. Do you know how serotonin regulates 17 A No.
18 moods and behavior? Did you ever learn that as part of 18 Q Did you ever try and discourage a physician
19 your Neurontin training? 19 from prescribing Neurontin off label?
20 A No. 20 MR. FERGUSON: Object to form.
21 MR. FERGUSON: Object to form. 21 A Wenever discussed it off label.
22 Q Do you know how norepinephrine regulates mood | 22 Q Okay. Were -- you were aware that some of your
23 and behavior? Did you ever learn that as part of your 23 physicians were prescribing Neurontin off label?
24 Neurontin training? 24 A _ Iwasn't because we didn't discuss it.
25 A No. 25  Q Okay. So you didn't -- let's -- let me just
Page 135 Page 137
1 Q Okay. Do you know what effect Neurontin has on 1 give you -- let's say you had a -- on your Sherlock
2 Monoamine neurotransmitters in the human brain? 2 report you had a prescription -- a prescriber who was a
3. A No. 3 high-volume prescriber of Neurontin, okay? You never
4 Q Have you heard the term GABAergic -- GABAergic} 4 asked them, Hey, Doctor, are you prescribing this off
5 with -- associated with Neurontin? G-A-B-A, and then 5 label or on label?
6 e-r-g-i-c? 6 <A No.
7 A Imay have. 7  Q Okay. I forgot to ask you these questions
8 Q Do you know what that -- do you know what 8 about the guilty plea. I'm sorry. But let me just ask
9 GABAergic means today? 9 you a few things.
10 <A No. 10 Were you aware that Warner-Lambert pled guilty
11 Q > Okay. Did you ever tell any physicians whether 11 totwo felonies in 2004 with regards to off-label
12 ornot Neurontin was or was not GABAergic? 12 marketing of Neurontin?
13. A No. 13. A Yes.
14 Q Okay. Did any of your physicians you called on 14 Q Okay. Were you aware that Warner-Lambert paid
15 with regards to Neurontin ever tell you that a patient 15 a fine of -- sorry -- of $430 million with regards to
16 on Neurontin had an adverse event? 16 off-label marketing of Neurontin?
17 A Yes. 17  <A_ J was not aware of the amount.
18 Q Okay. What were the types of -- how many 18 Q Okay. Were you aware that it was a -- in the
19 patients -- how many physicians told you -- asked you 19 hundreds of millions of dollars?
20 about -- how many physicians told you that their 20 A No.
21 patients had an adverse event on Neurontin? 21 Q Were you aware that it was in the millions of
22 A Maybe a handful. 22 dollars?
23. Q Okay. Did they fill out Adverse Event Forms? 23. A Yes.
24 A _ They chose not to. 24 Q Okay. Were you aware that over 90 percent of
25 Q Okay. Do you remember what those adverse 25 prescriptions were off label?

 

 

 

35 (Pages 134 to 137)
